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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
OREXIGEN THERAPEUTICS, INC., Case No. 18-10518 (KG)
Debtor.! Re: D.I. 424, 506

 

ORDER PURSUANT TO SECTION 1121(d) OF THE BANKRUPTCY CODE
EXTENDING THE EXCLUSIVE PERIODS DURING WHICH THE DEBTOR MAY
FILE A CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

Upon the motion (the “Motion”) of the above-captioned debtor and debtor in possession
(the “Debtor”), for entry of an order pursuant to section 1121(d) of the Bankruptcy Code:
(i) extending the period during which the Debtor has the exclusive right to file a plan through
and including October 8, 2018, and (ii) extending the period during which the Debtor has the
exclusive right to solicit acceptances thereof through and including December 7, 2018; and upon
the record in this case; and adequate notice of the Motion having been given; and it appearing
that no other or further notice need be given; and after due deliberation and sufficient cause
appearing therefor;

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED.

2. Pursuant to section 1121(d) of the Bankruptcy Code, the time within which only

the Debtor may file a plan under section 1121(b) of the Bankruptcy Code is extended through

and including October 8, 2018.

 

' The last four digits of the Debtor’s federal tax identification number are 8822. The Debtor’s mailing address

for purposes of this Chapter 11 Case is 3344 North Torrey Pines Court, Suite 200, La Jolla, CA 92037.

Capitalized terms not defined herein are defined in the Motion.
 

 

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3. Pursuant to section 1121(d) of the Bankruptcy Code, the time within which only
the Debtor may solicit acceptances to any proposed plan under section 1121(c)(3) of the
Bankruptcy Code is extended through and including December 7, 2018.

4. This Order shall be without prejudice to the Debtor’s right to seek further
extensions of the time within which only the Debtor may file and solicit acceptances of a plan.

5. This Court shall retain jurisdiction with respect to all matters relating to the

interpretation or implementation of this Order.

 
    

Dated: , 2018 f

 
   

Wilmington, Delaware

THE HONORABLE KEWIN GROSS
UNITED STATES BANKRUPTCY JUDGE
